           Case 2:06-cr-00323-MCE Document 25 Filed 11/28/06 Page 1 of 3


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MARY M. FRENCH, Bar #126643
     Supervising Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     JESUS DIAZ OLIVERA
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. 2:06-cr-0323-MCE
                                     )
12                  Plaintiff,       )     STIPULATION AND ORDER CONTINUING
                                     )     STATUS CONFERENCE
13        v.                         )
                                     )
14   JESUS DIAZ OLIVERA,             )     Date: January 9, 2007
                                     )     Time: 8:30 a.m.
15                  Defendant.       )     Judge: Morrison C. England, Jr.
     _______________________________ )
16
17        It is hereby stipulated between the parties, Mary M. French,
18   attorney for the defendant Jesus Diaz Olivera, Michael Bigelow,
19   attorney for defendant Javier Villalobos Garcia, Carl Edward Larson,
20   attorney for defendant Jose Maria Gomez Ortega, and Samuel Wong,
21   Assistant United States Attorney, attorney for the plaintiff, that the
22   Status Conference in this matter, currently scheduled for November 28,
23   2006, be continued until January 9, 2007 at 8:30 a.m.
24        The primary language of each defendant in this matter is Spanish
25   such that communications between all defense counsel and their
26   respective clients, including all discovery, must take place through an
27   interpreter.   Defense counsel have received discovery but need
28   additional time to review and discuss the discovery produced by
           Case 2:06-cr-00323-MCE Document 25 Filed 11/28/06 Page 2 of 3


 1   plaintiff with their respective clients, and also to conduct necessary
 2   research, interview potential witnesses, and conduct on-going defense
 3   investigation.
 4        It is further stipulated that the period from November 28, 2006,
 5   through and including January 9, 2007, should be excluded from
 6   computation of time within which the trial of this case must be
 7   commenced under the Speedy Trial Act pursuant to 18 U.S.C.
 8   §3161(h)(8)(B)(iv) and Local Code T4 based upon continuity of counsel
 9   and defense preparation.
10                                          Respectfully submitted,
11   Dated: November 27, 2006
12                                          DANIEL J. BRODERICK
                                            Federal Defender
13
                                            /s/ Mary M. French
14                                          ______________________________
                                            MARY M. FRENCH
15                                          Supervising Assistant
                                            Federal Defender
16                                          Attorney for Defendant
                                            JESUS DIAZ OLIVERA
17
18                                         /s/ Mary M. French for
                                           ______________________________
19                                         MICHAEL BIGELOW
                                           Attorney for Defendant
20                                         JAVIER VILLALOBOS GARCIA
21
                                           /s/ Mary M. French for
22                                         ______________________________
                                           CARL EDWARD LARSEN
23                                         Attorney for Defendant
                                           JOSE MARIA GOMEZ ORTEGA
24
     //
25   //
26
27
28


                                            2
            Case 2:06-cr-00323-MCE Document 25 Filed 11/28/06 Page 3 of 3


 1   Dated: November 27, 2006               MCGREGOR W. SCOTT
                                            United States Attorney
 2
 3                                          /s/ Mary M. French for
                                            ______________________________
 4                                          SAMUEL WONG
                                            Assistant U.S. Attorney
 5                                          per telephonic authorization
 6
 7                                        ORDER
 8        Based on the stipulation of the parties and good cause appearing,
 9   the Court hereby finds that the failure to grant a continuance in this
10   case would deny defendants’ counsel reasonable time necessary for
11   effective preparation, taking into account the exercise of due
12   diligence.   The Court specifically finds that the ends of justice
13   served by the granting of such continuance outweigh the interests of
14   the public and the defendants in a speedy trial.
15        Therefore, based on these findings and pursuant to the stipulation
16   of the parties, the Court hereby adopts the stipulation of the parties
17   in its entirety as its order.
18
     IT IS SO ORDERED.
19
20   DATED: November 28, 2006
21
22
                                          _____________________________
23
                                          MORRISON C. ENGLAND, JR
24                                        UNITED STATES DISTRICT JUDGE

25
26
27
28


                                             3
